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                                                                              19
                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                    CLERK, U.S. DISTRICT COURT
                               Richmond Division                          RICHMOND. VA



INTERACTIVE BROKERS LLC,

         Plaintiff,

V.                                          Civil Action No. 3:17-cv-127

ROHIT SAROOP, PREYA SAROOP,
and GEORGE SOFIS,

         Defendant.



                               MEMORANDUM OPINION


         This matter is before the Court on the PLAINTIFF'S MOTION TO

VACATE MODIFIED ARBITRATION AWARD (EOF No. 79) and DEFENDANT'S

MOTION TO CONFIRM THE MODIFIED ARBITRATION AWARD (EOF No. 80). For

the reasons set forth below, the PLAINTIFF'S MOTION TO VACATE

MODIFIED ARBITRATION AWARD (EOF No. 79) will be granted and the

DEFENDANT'S MOTION TO CONFIRM THE MODIFIED ARBITRATION AWARD (EOF

No. 80) will be denied. Further, the Court will remand the matter

to   a    new   panel    of   arbitrators   to     consider   the   Plaintiff's

counterclaims.


                                     BACKGROUND


     This matter is a familiar one to the Court. In January 2017,

a Financial Industry Regulatoiry Authority ("FINRA") arbitration

panel     rendered     an   arbitration   award    (the   "first    arbitration

decision") in favor of Claimants George Sofis and Rohit and Preya

Saroop      ("Claimants")      and    against     Interactive   Brokers,       LLC
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("Interactive") (ECF No. 1-2). Interactive moved to vacate that

award (ECF No. 1) and Claimants moved to confirm it (ECF No. 18).

Faced with an inscrutable award, this Court remanded the first

arbitration decision back to the same panel of arbitrators for

clarification.1 ECF No. 50 (hereinafter, the "Remand Opinion").

Fully aware of the Court's instructions in the Remand Opinion, the

arbitrators   issued   a   modified   award   (the   "second   arbitration

decision") in January 2018, again in favor of the Claimants. ECF

No. 71-1. Once again. Interactive moved to vacate the award (ECF

No. 79) and Claimants moved to confirm it (ECF No. 80).

A.   Factual Background

     The factual background is set out fully in the Remand Opinion

(ECF No. 50) and is incorporated here.

     Interactive is an online brokerage firm that provides a web-

based platform for sophisticated investors to purchase and sell

securities and other products on various exchanges throughout the

world. ECF No. 1 at 6. Interactive offers these services to its

customers without any accompanying financial advice.            It merely

executes the trades that its customers (or its customers' own

investment advisors) request. Id. Consequently, Interactive's




1 Claimants appealed the Court's remand to the Arbitrators (ECF
No. 55); the Fourth Circuit dismissed the appeal on the grounds
that it was a non-appealable interlocutory order. ECF No. 67.
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contracts with its customers include, among other things,2 waivers

of liability for any and all losses sustained through the market.

ECF No.   1-3, 1-4.     The   Claimants    in   this case   were    three   such

customers.


       The Saroops opened an account with Interactive on June 18,

2012   with    an initial     deposit of     $25,000.    They deposited       an

additional $75,000 in 2013, and another $50,000 in 2014. Sofis

opened his accovint with Interactive on October 15, 2012 with a

deposit   of    $100,000.     Both   the   Saroops   and    Sofis    hired   an

independent financial advisor, Vikas Brar of Brar Capital LLC, to

run their accounts with Interactive and to make trades on their

behalf. The parties appear to agree that neither Brar nor his

company has ever been employed by or affiliated with Interactive,

and that the decision to hire Brar was made solely by the Claimants

themselves.


       Over   the   course    of   their   contractual   relationship       with

Interactive, the Claimants (through Brar) engaged in a high-risk

trading strategy that relied on the sale of so called "naked short




2 Of particular relevance to these proceedings, the contracts also
included: (1) a mandatory arbitration provision; (2) a choice of
law provision stating that Connecticut law governs contract
interpretation; (3) and an attorneys' fee provision that purports
to give Interactive (only) the right to fees.
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call" options^ and "margin" trading.          These strategies initially-

resulted in large profits for the Claimants, but that changed in

2015.


      On January 15, 2015, at Brar's request, the Saroops converted

their account with Interactive from a Regulation                margin account

to a portfolio margin account. Sofis did the same in July of 2015.

This change in account type allowed Brar to engage in still riskier

transactions on behalf of the Claimants: under Regulation T's

margin requirements, investors may borrow up to fifty percent of

the purchase price of a security using a loan from the broker;




3 A call option is the option to buy some underlying security (such
as the Exchange Traded Notes ("ETNs") at issue in this case) at a
predetermined "strike price" up until some future date. If the
value of the underlying security never hits the "strike price,"
the option is worthless and the seller pockets the premium from
the sale of the option. Because this is a risky strategy, investors
often hedge their position by buying the underlying security
involved in the transaction, thereby limiting their risk (and
reward). When an investor sells such an option without owning the
underlying security (thereby exposing him or herself to higher
risk), it is called a "naked" short call.

^ Essentially, trading on the "margin" refers to a method of buying
securities (or stock, etc.) that involves borrowing a part of the
sum   needed   to   execute   the   transaction   from   the   broker   himself—
here, Brar. Margin trading may result in quicker profits, but it
also exposes the investor to the risk of losses in excess of the
amount of their initial investment.


5 12 C.F.R. § 220.
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 under Portfolio        Margin,      investors      can   (usually)       achieve far

 greater leverage.®

       By    the   time    the    Claimants'       acco\mts     were     converted    to

 portfolio margin accounts in 2015, Brar was exclusively (or nearly

 exclusively) relying on a strategy of selling naked call options

 of iPath S&P 500 VIX Short-Term Futures (VXX), an exchange traded

 note ("ETN") designed to give investors exposure to the so-called

 "fear index." In doing so, Brar was essentially betting (on behalf

 of   the    Claimants)    that     the   market    would      remain    stable.   Brar

 continued to rely upon and execute these trades after the Claimants

 converted their accounts to portfolio margin.

       The    parties     dispute    whether,      and    to   what     extent,    FINRA

 Regulations (specifically. Rule 4210 and regulatory notice 08-09)

 permitted such trades to be executed using the portfolio margin.

 It is iindisputed, however, that such trades were executed using

 the portfolio margin, and that they resulted in profits for the

 Claimants until late August of 2015."' Indeed, by the close of




 ® Unlike Regulation T's initial margin requirement of 50% (2-1
 leverage limit on equity), Portfolio Margin uses a sophisticated
 algorithm to calculate margin requirements based on the overall
 hypothetical risk of the portfolio (which, in turn, factors in the
 historical volatility of the underlying securities involved).

'It is clear from the "Arbitrator's Report" in both the first
 arbitration decision (ECF No. 1-2) and the second arbitration
 decision (ECF No. 71-1) that the arbitrators concluded that the
 VXX options were not eligible to be traded using portfolio margin.
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markets on August 19, 2015, Sofis' account had a net asset value

("NAV") of $500,529.48 and the Saroops had a NAV of $520,450.40.

        On   Thursday,    August    20,   2015,    Brar   continued       this   same

strategy, selling hundreds of naked VXX call options. Over the

next several days, however, the market experienced a spike in

volatility,      culminating       on   August     24,    2015,    when    the   Dow

experienced the largest one-day decline in its history. The parties

dispute the cause of this volatility and decline: while Interactive

attributes the loss to the market generally, the Claimants argue

that the      losses     occurred, at least in part,              because of     the

unreasonable       "auto-liquidation"             procedures       deployed       by

Interactive.


     Notwithstanding this factual dispute, both sides agree that

by the time the market opened on August 24, the value of the

Claimants' accounts had decreased by 80 percent. This precipitous

drop caused the Claimants' accounts to fall into so-called "margin

deficiency"-the equity remaining in the accounts had fallen below

the minimum maintenance requirements. This margin deficiency, in

turn,    triggered       Interactive's     "auto-liquidation"         procedures,

which, in a period of about thirty minutes, wiped out the remaining

balance in the Claimants' accounts (and left them with a still-

large margin deficiency). The Claimants responded by bringing an

arbitration claim against Interactive.
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B.      The First Arbitration Decision


        In December 2015, the Claimants filed an arbitration claim

with FINRA, as required by their contracts with Interactive. Their

Statement of Claim ("SC") asserted multiple claims, including:

breach    of   contract,    promissory     estoppel,     violation    of   state

securities     statutes,    commercially unreasonable           disposition   of

collateral, negligent and intentional misrepresentation, unjust

enrichment, and vicarious liability. SC ft 46-61 (ECF No. 1-10).

Interactive filed an answer and counterclaim in response, seeking

an award equal to the amount of the Claimants' debt remaining after

their accounts had been liquidated. ECF No. 1-11. Both sides also

sought    attorneys'   fees,   and   signed     FINRA    Uniform     Submission

Agreements, in which they agreed to submit the matters pled in the

Statement of Claim, answer, and counterclaims for resolution by a

FINRA arbitration panel (ECF No. 1-12). Although they had a right

to do so under FINRA rules, neither side requested a reasoned award

from the arbitrators.


     An arbitration hearing was held from December 5, 2016 to

December 9, 2016. Both sides presented fact and opinion testimony,

including experts. Ultimately, on January 10, 2017, the panel

rendered a monetary award in favor of the Claimants, including an

award     of   attorneys'    fees    and    a   denial     of    Interactive's

counterclaim. ECF No. 1-2. The arbitrators summarized the claims


in the case as follows:
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     Claimants asserted the following causes of action:
     breach of contract and promissory estoppel, violation of
     state securities statutes, commercially unreasonable
     disposition of collateral, vicarious liability, and
     common law fraud. The        causes     of   action   relate   to
     unspecified securities.

     Unless specifically admitted in the Statement of Answer,
     Respondent denied the allegations made in the Statement
     of Claim and asserted various affirmative defenses.

     In its Counterclaim, Respondent asserted the following
     causes of action: failure to mitigate and pay a debt.

id- a-t 3. The panel also noted that the Claimants withdrew their

claim for allowing a non-registered broker to make trades at the

close of the arbitration hearing. Id.

     Because   neither    side   requested    a    reasoned   award,     the

arbitrators provided little explanation for their decision.              The

"Arbitrator's Report" consists of just three sentences, followed

by details of the monies owed. In their entirety, the "ARBITRATOR'S

REPORT" and "AWARD" state:


                         ARBITRATOR'S REPORT


     The Claimants are awarded the value of their accounts on
    August 19, 2015 ($520,450.40 to the Saroops and
    $500,529.48 to Sofis). Respondent's Counterclaim was
    dismissed based on Respondent's violation of FINRA Rule
    4210 as further explained in regulatory notice 08-09.
    The securities placed in the portfolio margin account
    were not eligible for that account based on these rules
    and regulations.

                                 AWARD


    After considering the pleadings, the testimony and
    evidence presented at the hearing, and the post-hearing
    submissions, the Panel has decided in full and final
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     resolution of the issues submitted for determination as
     follows:


     1. Respondent is liable for and shall pay to Claimants
     Rohit and Preya Saroop compensatory damages in the
     amount of $520,450.40 plus interest at the rate of 8%
     per annum from 30 days of the date of the award until
     payment.

     2. Respondent is liable for and shall pay to Claimants
     Rohit and Preya Saroop attorneys' fees representing 40%
     of the compensatory damages and 30% of the net claimed
     by Respondent for a total of $274,006.16. The Panel
     granted attorneys' fees pursuant to the parties'
     agreement.

     3. Respondent is liable for and shall pay to Claimant
     George Sofis compensatory damages in the amount of
     $500,529.48 plus interest at the rate of 8% per annum
     from 30 days of the date of the award until payment.

     4. Respondent is liable for and shall pay to Claimant
     George Sofis attorneys' fees representing 40% of the
     compensatory damages and 30% of the net claimed by
     Respondent for a total of $249,858.49. The Panel granted
     attorneys' fees pursuant to the parties' agreement.

     5. Claimants' claim for witness fees is denied.

     6. Respondent is liable for and shall pay to Claimants
     $600.00 as reimbursement of the non-refundable portion
     of the filing fee previously paid.

     7. Respondent's      Counterclaims     are   denied   in   their
     entirety.

     8. Respondent's request for attorneys' fees is denied.

     9. Any and all claims for relief not specifically
     addressed herein, including punitive damages, are
     denied.


Id. at 4. The remainder of the        decision contained     non-relevant

information on arbitration fees. Id. at 5. Interactive moved for
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this Court to vacate the first arbitration decision (EOF No. 1),

while the Claimants sought to confirm it (ECF No. 18).

C.    The Remand Opinion (ECF No. 50)

      After considering the parties' motions to confiinn and vacate

the first arbitration decision, the Court did neither. Rather, it

denied both motions, and remanded the matter to the original

arbitrators to clarify their opinion. ECF No. 50.

      The    Court      recognized      the     extreme     deference   owed        to

arbitrators' decisions. Id. at 11-14. However, it also noted that

"[w]hen an arbitrator does provide reasons for a decision and when

those reasons are so ambiguous as to make it impossible for a

reviewing court to decide whether an award draws its essence from

the agreement, the court may remand the case to the arbitrator for

clarification." Cannelton Indus., Inc. v. Dist. 17, United Mine

Workers of Am., 951 F.2d 591, 594 (4th Cir. 1991); ECF No. 50 at

14.   The   Court     foiind   the   first    arbitration    decision   to     be   a

situation where remand was warranted.

      First, the      Court could not "concoct a scenario where the

amount of compensatory damages awarded in this case makes sense."

ECF   No.   50   at    16.     Nor   could    the   Court   determine   what    the

arbitrators considered to be the predicate for liability. Id. The

first arbitration decision was especially perplexing because it

stated that "[a]ny and all claims for relief not specifically

addressed herein, including punitive damages, are denied."                      ECF


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No. 1-2 at 4. But, the award was in no way clear about which claims

had been "specifically addressed." ECF No. 50 at 17. Further still,

the damages awarded to the Claimants did "not correspond to any

theory of liability that the Court can apprehend, much less the

two principal theories of liability articulated by the Claimants

at the arbitration."® Id. at 17.


      Second,      the   award    of     attorney's   fees   was     also   quite

perplexing. Id. at 19. The Court found a possible legal basis for

the award of such fees (in the parties' agreement), but nothing

supported a finding of percentage fees. Id. Accordingly, the Court

concluded that the fee awarded also needed to be clarified.

      In    sum,   the   Court   simply    could   not   reconcile    the   first

arbitration decision with any legal theories with which it was

familiar.     The Court refused to rubber stamp a decision it could

not understand. Id. While "the arbitrators need not give a full

opinion, a brief explanation for the basis of the amount of damages

awarded is necessary before any semblance of judicial review can

be accomplished." Id. at 20. Accordingly, the Court remanded the

matter to the same panel of arbitrators for clarification as to

the predicate for liability, how the damages were determined, and

the basis for attorney's fees. Id. at 19-20.




®   These    two   theories      were:    (1)   Interactive's      allowance   of
ineligible securities to be traded on portfolio margin, and (2)
Interactive's auto-liquidation procedure. ECF No. 50 at 17-18.


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D.      The Second Arbitration Decision


        The arbitrators issued their second, modified decision on

January 30, 2018. ECF No. 71-1. The modified decision only added

a    few   sentences   to   the    first      arbitration      decision.       As    far   as


explanations go, it was not very helpful.

        Nearly identically to the first arbitration decision, the

arbitrators      summarized       the    case      as    follows   (the    new      text   is

underscored):

        Claimants asserted the following causes of action:
        breach of contract and promissory estoppel, violation of
        state    securities        statutes,            declaratory    judgment,
        commercially unreasonable disposition of collateral,
        vicarious liability, and common law fraud. The causes of
        action relate to unspecified securities.

        Unless specifically admitted in the Statement of Answer,
        Respondent denied the allegations made in the Statement
        of Claim and asserted various affirmative defenses.


        In its Counterclaim, Respondent asserted the following
        causes of action: failure to mitigate and pay a debt.

Id. at 3. This list added "declaratory judgment" from the first

arbitration decision. See ECF No. 1-2 at 2. Under "OTHER ISSUES

CONSIDERED      AND    DECIDED,"        the     arbitrators        added   a     paragraph

explaining the procedural history of the case, concluding with:

"After due consideration, the Panel submits this Modified Award."

ECF No. 71-1 at 3.


        The next two sections of the second arbitration decision are


the "ARBITRATOR'S REPORT" and "AWARD." Those sections repeat much



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of the first decision and then add some text.         In their entirety,

those   sections state    as follows      (with additions to the first

arbitration decision underscored):

                          ARBITRATOR'S REPORT


     The Claimants are awarded the value of their accounts on
     August 19, 2015 ($520,450.40 to the Saroops and
     $500,529.48 to Sofis). Respondent's Counterclaim was
     dismissed based on Respondent's violation of FINRA Rule
     4210 as further explained in regulatory notice 08-09.
     The securities placed in the portfolio margin account
     were not eligible for that account based on these rules
     and regulations. Respondent's position that the Panel
     should not enforce a FINRA rule amounts to saying that
     FINRA should provide an opportunity for investors to
     commit financial suicide by investing in securities that
     are ineligible for inclusion in a portfolio margin
     account. To ignore a FINRA rule by the Panel would defeat
     the purpose of FINRA.

                                  AWARD


     After considering the pleadings, the testimony and
     evidence presented at the hearing, and the post-hearing
     siibmissions, the Panel has decided in full and final
     resolution of the issues submitted for determination as
     follows:


     1. Respondent is liable for and shall pay to Claimants
     Rohit and Preya Saroop compensatory damages in the
     amount of $520,450.40 plus interest at the rate of 8%
     per annum from 30 days of the date of the award until
     payment.

     2. Respondent is liable for and shall pay to Claimants
     Rohit and Preya Saroop attorneys' fees representing 40%
     of the compensatory damages and 30% of the net claimed
     by Respondent for a total of $274,006.16. The Panel
     granted    attorneys'    fees   pursuant    to   the   parties'
     agreement.

     3. Respondent is liable for and shall pay to Claimant
     George Sofis compensatoory damages in the amount of




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     $500,529.48 plus interest at the rate of 8% per annum
     from 30 days of the date of the award until payment.

     4. Respondent is liable for and shall pay to Claimant
     George Sofis attorneys' fees representing 40% of the
     compensatory damages and 30% of the net claimed by
     Respondent for a total of $249,858.49. The Panel granted
     attorneys' fees pursuant to the parties' agreement.

     5. There was no evidence of profits or losses in
     securities ineligible for portfolio management accounts
     from the time that the parties signed the portfolio
     management agreements and          the parties' accounts^          net
     asset values, all cash on August 19, 2015. Therefore,
     the panel could not consider what happened prior to the
     investment of cash on August 19, 2015 in the portfolio
     management accounts.


     The damages set forth above stem from the amounts, all
     cash, on August 19, 2015, which were sxibsequently
     invested in securities that were ineligible for
     investment in portfolio margin accounts. Values were
     determined    from   Claimants'     Exhibits    70     and    71   and
     Respondent's Exhibits R-48 and R115.

     Counsel fees were based on an agreement between the
     attorneys for both parties. There was a dispute as to
     whether the agreement was cancelled. The Panel found for
     the Claimants. The amounts were based on a written fee
     agreement   between   the   counsel  and   each   party.
     Percentages    and   fees   were    obtained    from    Claimants'
     Exhibits 53 and 63 and Respondent's Exhibit R-49.

     6. Claimants' claim for witness fees is denied.

     7. Respondent is liable for and shall pay to Claimants
     $600.00 as reimbursement of the non-refundable portion
     of the filing fee previously paid.

     8. Respondent's      Counterclaims      are    denied    in    their
     entirety.

     9. Respondent's request for attorneys' fees is denied.

     10. Any and all claims for relief not specifically
     addressed herein, including punitive damages, are
     denied.




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ECF No. 71-1 at 4-5 (new text underscored). Again, the remainder

of the arbitrator's decision dealt with non-relevant filing fees.

Id. at 5-6.


     In sum, the second arbitration decision added "declaratory-

judgment" as one of the causes of action asserted by the Claimants;

it added a brief procedural history of the case leading to the

second, modified award; it added two sentences to the "Arbitrator's

Report"   regarding FINRA rules; and it added Paragraph Five of the

"Award" explaining the calculation of damages.

E.   Procedural Posture


     Following the second arbitration decision. Interactive filed

PLAINTIFF'S MOTION TO VACATE MODIFIED ARBITRATION AWARD (ECF No.

79) on March 26, 2018; Claimants filed DEFENDANT'S MOTION TO

CONFIRM THE MODIFIED ARBITRATION AWARD on the same day (ECF No.

80). The parties briefed the matter fully (ECF Nos. 81-85; 89;

91). Thereafter, the Court heard oral argument, and both motions

were fully submitted to the Court. The matter is now ripe for

decision.


                               LEGAL STANDARD


     Section   10   of   the   Federal   Arbitration   Act   sets   out   the

specific, limited grounds upon which an arbitral award may be

vacated. They include:

     (1) where the award was procured by corruption, fraud,
     or undue means;



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     (2) where there was evident partiality or corruption in
     the arbitrators, or either of them;

     (3) where the arbitrators were guilty of misconduct in
     refusing to postpone the hearing, upon sufficient cause
     shown, or in refusing to hear evidence pertinent and
     material to the controversy; or of any other misbehavior
     by which the rights of any party have been prejudiced;
     or



     (4) where the arbitrators exceeded their powers, or so
     imperfectly executed them that a mutual, final, and
     definite award upon the subject matter siibmitted was not
     made.


9 U.S.C. § 10(a). The Supreme Court has issued further instructions

interpreting the fourth of these circumstances: where arbitrators

exceed their powers.

     In Oxford Health Plans LLC v. Sutter, 133 S. Ct. 2064 (2013),

the Supreme Court explained that "a party seeking relief under

§ 10(a)(4) bears a heavy burden." Id. at 2068. The Court instructed

further:


     It is not enough . . . to show that the arbitrator
     committed an error—or even a serious error. Because the
     parties bargained for the arbitrator's construction of
     their agreement, an arbitral decision even arguably
     construing or applying the contract" must stand,
     regardless of a court's view of its (de)merits. Only if
     the arbitrator acts outside       the scope of his
     contractually delegated authority—issuing an award that
     simply reflects his own notions of [economic] justice
     rather than drawing its essence from the contract—may a
     court overturn his determination. So the sole question
     for us is whether the arbitrator (even arguably)
     interpreted the parties' contract, not whether he got
     its meaning right or wrong.

Id. at 2068 (internal citations and quotations omitted).




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     The Fourth Circuit has explained that an arbitration award

may be vacated on common law grounds where it "fails to draw its

essence from the contract," or where the award demonstrates a

"manifest disregard of the law." See Choice Hotels Int'l, Inc. v.

SM Prop. Mgmt., LLC, 519 F.3d 200, 207 (4th Cir. 2008). An award

fails to draw its essence from, the contract "when an arbitrator

has disregarded or modified unambiguous contract provisions or

based an award upon his own personal notions of right and wrong."

Three S Delaware, Inc. v. DataQuick Info. Sys., Inc., 492 F.3d

520, 528 (4th Cir. 2007).

     Manifest disregard of the law requires the moving party to

show that the arbitrator was "aware of the law, understood it

correctly, found it applicable to the case before [him], and yet

chose to ignore it in propounding [his] decision." Long John

Silver's Restaurants, Inc. v. Cole, 514 F.3d 345, 349 (4th Cir.

2008). This standard is "not an invitation to review the merits of

the underlying arbitration," and will apply only where: "(1) the

disputed legal principle is clearly defined and is not subject to

reasonable debate; and (2) the arbitrator refused to apply that

legal principle." Jones v. Dancel, 792 F.3d 395, 402-03 (4th Cir.

2015), cert, denied, 136 S. Ct. 591 (2015). A district court cannot

overturn an arbitration award "just because it believes, however

strongly, that the arbitrators misinteirpreted the applicable law."




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Id. at 401 (quoting Wachovia Sec., LLC v. Brand, 671 F.3d 472, 478

(4th Cir. 2012)). The arbitrators must disregard it.

     Notwithstanding      these   possible   grounds     for   vacatur,   the

Fourth Circuit has repeatedly emphasized that "judicial review of

an arbitration award in federal court is severely circumscribed."

Id. (quoting Apex Plumbing Supply, Inc. v. U.S. Supply Co., 142

F.3d 188, 193 (4th Cir. 1998)). Indeed, the Fourth Circuit has

described such review as "among the narrowest known at law," Apex,

142 F.3d at 193, and has instructed that "a court sits to determine

only whether the arbitrator did his job—not whether he did it well,

correctly, or reasonably, but simply whether he did it." Wachovia,

671 F.3d at 478 (internal citations omitted). Thus, "as long as

the arbitrator is even arguably construing or applying the contract

and acting within the scope of his authority, that a court is

convinced he committed serious error does not suffice to overturn

his decision." Choice Hotels, 519 F.3d at 207 (quoting U.S. Postal

Serv. V. Am. Postal Workers Union, AFL-CIO, 204 F.3d 523, 527 (4th

Cir. 2000)).

     In   sum,   this   Court   "'must'   confimn   an   arbitration   award

'unless' a party to the arbitration demonstrates that the award

should be vacated vmder" one of the permissible grounds, which

includes manifest disregard of the law. Dance1, 792 F.3d at 401

(quoting Hall St. Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576,

582 (2008)).



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                                  DISCUSSION


        With this framework in mind, the Court moves to the merits of

the   case, fully aware      of    its     limited   role      in reviewing   the

arbitration decision. Still, the arbitration decision must comport

with the law. After thoroughly reviewing the record in this case-

especially in light of the specific instructions that the Court

gave the arbitrators in the Remand Opinion—the Court concludes

that the arbitrators based their finding of liability against

Interactive on a violation of FINRA Rule 4210. That is a manifest


disregard of the law because the law is clear that there is no

private right of action to enforce FINRA rules; the arbitrators

knew of and imderstood the law on this point; they found it to be

applicable to the case; and they ignored it. When such manifest

disregard for the law occurs, the Court must vacate the arbitration

award. Because the arbitrator's impermissible finding of liability

is the basis for the damages and attorney's fees award against

Interactive, those findings are also erroneous. Accordingly, the

Court will only deal with the liability issue here. Lastly, because

the arbitrators dismissed Interactive's counterclaims based on the


alleged violation of FINRA Rule 4210, the Court will reinstate

those    claims   and   remand    to   a    new   panel   of    arbitrators   for

consideration thereof.




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A.    The Arbitrators' Liability Detezmination is Predicated on a
      Violation of FINRA Rule 4210


      The     arbitrators'     second       arbitration      decision   does   not

expressly state that it is basing its liability finding against

Interactive on any of the causes of action recited in the award.

The decision starts with a list of the causes of actions asserted

by the      Claimants—breach of        contract and promissory estoppel,

violation of state securities statutes, declaratory judgment,

commercially unreasonable disposition of collateral, vicarious

liability, and common law fraud. EOF No. 71-1 at 3. These causes

of action "relate to unspecified securities." Id.^

      After    identifying     those    potential      causes   of   action,   the

"ARBITRATOR'S     REPORT"      makes    a    finding    of    liability   against

Interactive without stating which cause of action serves as the

basis for such liability or how damages were determined.                  Indeed,

the "REPORT" does not identify any of the specified causes of

action delineated on the previous page of the decision as the

predicate for the award.          More importantly, the only basis for

liability cited by the arbitrators in their modified award—after

they were specifically instructed by the Court to provide an




®   The   arbitrators   then   state    that   in   Claimants'    "Statement   of
Claim"   they   requested:   compensatory    damages,   direct   or
consequential damages, market adjusted damages and/or punitive
damages, interest, lost opportunity damages, rescission, statutory
damages, costs, legal fees, and any and all other relief available.
Id.



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explanation for the predicate for liability-is a violation of FINRA

Rule 4210.


     In the first arbitration decision, the "ARBITRATOR'S REPORT"

stated that Interactive's counterclaims were dismissed "based on"

Interactive's   "violation     of   FINRA   Rule   4210"   and   that   the

"securities placed in the portfolio margin account               were   not

eligible for that accovint based on these rules and regulations."

EOF No. 1-2 at 4 (emphasis added). In the second arbitration

decision, the arbitrators appear to double down on their reliance

of a FINRA rule violation as the basis for liability by adding the

following two sentences—and only these sentences—to the "REPORT":

     Respondent's position that the Panel should not enforce
     a FINRA rule amounts to saying that FINRA should provide
     an opportunity for investors to commit financial suicide
     by investing in securities that are ineligible for
     inclusion in a portfolio margin account. To ignore a
     FINRA rule by the Panel would defeat the purpose of
     FINRA.


ECF No. 71-1 at 4. This is the only explanation in the modified

"ARBITRATOR'S    REPORT"    that    relates   to    the    predicate    for

liability.




^0 In the modified "AWARD," where the arbitrators attempt to explain
the damages calculation, they also appear to double-down on a FINRA
rule violation: "The damages set forth above stem from the amounts
. . . which were subsequently invested in securities that were
ineligible for investment in portfolio margin accounts." ECF No.
71-1 at 4 H 5.



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       Further support for that conclusion is found in the final

paragraph of the "AWARD," where the arbitrators write: "Any and

all claims for relief not specifically addressed herein, including

punitive damages, are denied."           at 5 f 10. In the Remand Opinion

(EOF No. 50), the Court noted that the first arbitration decision's

use of this identical language was unclear: "[O]ne cannot discern

from the Arbitrator's Report or the Award which claims for relief

were, as the arbitrator put it, 'specifically addressed.'" ECF No.

50 at 17. Instead of following the Court's instruction to clarify

the predicate for liability, however, the arbitrators used the

same "specifically addressed" language and added language about

FINRA rule violations. By process of elimination, if all other

claims were rejected (by the arbitrators' express admission) and

the only language added to the "ARBITRATOR'S REPORT" indicates

that liability is predicated on a FINRA Rule 4210 violation, it is

hard for the Court to conclude anything other than that a violation

of FINRA Rule 4210 is the basis for liability here.^^




  In the DEFENDANT'S OPPOSITION TO PLAINTIFF'S MOTION TO VACATE
THE MODIFIED ARBITRATION AWARD (ECF No. 85), the Claimants concede
that    commercially    unreasonable      disposition    of   collateral,
vicarious liability, and declaratory judgment were likely not the
basis for liability here. ECF No. 85 at 12. Accordingly, Claimants
assert that breach of contract and promissory estoppel, violation
of state securities statutes, and common law fraud remain as bases
for the arbitrator's finding of liability. Id.; see also Oral Arg.
Tr. at 45 (ECF No. 94). However, on its face, the arbitration
decision makes clear that liability is predicated on a violation
of FINRA Rule 4210.



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       The arbitrators were on notice that the Court was perplexed

by the "specifically addressed" language and to the extent they

clarified    their   award,   they   have   made   it   clear   that   they

"specifically addressed" FINRA Rule 4210.

B.     The Arbitrators' Award Manifestly Disregards the Law in
       Relying on FINRA Rule 4210 as the Predicate for Liability

       It is a manifest disregard of the law to predicate liability

on a violation of FINRA Rule 4210. Accordingly, the arbitration

award cannot stand.


       Distilling the Fourth's Circuit's "manifest disregard" cases,

the Court uses the following framework to assess this issue.

First, the legal principle must be "clearly defined and. . .not

subject to reasonable debate." Dance1, 792 F.3d at 402. Second,

the arbitrators must have: (1) been aware of this clearly defined

law,   (2)   understood   that law    correctly,   (3) found     that law

applicable to the case before them, and (4) ignored that law in

coming to a decision. See Long John Silver's, 514 F.3d at 349.

Each of these elements has been met in this case.

       1. The Law Is Clearly Defined That There Is No Private Right
         of Action Under FINRA Rules

       The clear weight of authority holds that a violation of the

rules of a financial self-regulatory entity like FINRA (or its




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predecessor, NASD)^^ does not give rise to a private right of

action. More than 40 years ago, the Fourth Circuit considered

whether New York Stock Exchange ("NYSE") Rules or American Stock

Exchange ("ASE") Rules governing margin maintenance requirements

created a private right of action for an investor. Carras v. Burns,

516 F.2d 251, 260 {4th Cir. 1975). The Court of Appeals found that,

because      "[m]argin   maintenance      requirements    are     established

primarily to protect the solvency of brokers by assuring adequate

collateral for their loans that finance consumer speculation,"

these requirements standing alone "create no cause of action" for

the investor. Id. While Carras did not deal with FINRA rules, it

did deal with margin requirements like those in this case and those

in   FINRA   Rule   4210.   The   Court    does   not   discern   a   material

difference between violations of the NYSE or ASE margin rules in

Carras and FINRA Rule 4210 here. See also Stern v. Merrill Lynch,

Pierce,   Fenner & Smith,     Inc., 603 F.2d 1073 (4th            Cir. 1979)

(finding no private right of action to enforce Regulation T credit

rules).

      Other cases cited by Interactive in its briefing both to the

Court and to the arbitrators further establish that there is no

private   right of action to enforce          FINRA or NASD       rules.   For




^2 FINRA succeeded NASD in 2007. See Santos-Buch v. Fin. Indus.
Regulatory Auth., Inc., 591 Fed. Appx. 32 (2d Cir. 2015)
(unpublished).


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 example, in Weinraub v. Glen Rauch Sees., Inc., the Court rejected

 Weinraub's     securities     fraud     allegations     on    several        grounds,

 including that he could not "state a valid cause of action based

on violations of [NYSE] and NASD rules and guidelines, as these

 rules confer no private right of action." 399 F. Supp. 2d 454, 462

(S.D.N.Y. 2005) (footnotes omitted). See also Thompson v. Smith

Barney, Harris Upham & Co., Inc., 709 F.2d 1413, 1419 (11th Cir.

1983) (rejecting contention that there is private right of action

under   federal    securities     laws    for    violation     of    NYSE    and    NASD

Rules); SSH Co., Ltd. V. Shearson Lehman Bros. Inc., 678 F. Supp.

1055, 1058 (S.D.N.Y. 1987) (same); Parsons v. Hornblower & Weeks-

Hemphill Noyes, 447 F. Supp. 482, 494 (M.D.N.C. 1977) ("Under the

clear weight of authority, there is no private right of action for

alleged violations of NASD rules in the absence of facts which

demonstrate fraud, independently cognizable under the antifraud

provisions of the securities laws.").

      In    a   Notice    of    Supplemental      Authority         (ECF    No.     89),

Interactive also cites to a recent Southern District of New York

case, Hauptman et al. v. Interactive Brokers, LLC, No. l:17-cv-

09382-GBD       (S.D.N.Y.      June    12,      2018).     Tjie      Court        stated

unequivocally that "no private right of action exist[s]. . . for



"Interactive also provided a more recent opinion in Hauptman, No.
l:17-cv-09382-GBD        (S.D.N.Y.     Oct.     19,   2018),   that        denied   the
Plaintiffs' Motion to Amend based on the futility of such an
amendment. ECF No. 91.



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violations of. . .FINRA rules." Hauptman, slip op. at 15 (quoting

Lobaito V. FINRA, No. 13-CV-6011, 2014 WL 4470423, at *7 n.3

(S.D.N.Y.    Sept.   9,   2014)).   Hauptman   was   decided    after   the

arbitrators decided this case, so it cannot serve as a basis to

establish that the law was clearly defined on this issue when the

arbitrators had this matter before them. Hauptman quotes the

earlier Lobaito case, which pre-dated the arbitration in this case,

and thus could establish this principle of law. Lobaito, however,

was discussing whether there was a private right of action against

FINRA for actions it takes "in furtherance of its regulatoiy

duties, including enforcement of its own rules." Lobaito, 2014 WL

4470423, at *7 & n.3. Private rights of action against FINRA are

not at issue in the instant case.


     Nonetheless, Hauptman also cites to Gurfein v. Ameritrade,

Inc., discussed infra. In Gurfein, the Second Circuit taught that

there   is   no   private   right   of   action   under   the   rules   of

organizations like FINRA. 312 Fed. Appx. 410, 414 (2d Cir. 2009)

(stating that "Gurfein does not contend that the regulatory rules

themselves provide investors with a private right of action" and

"Gurfein is precluded from creating a private cause of action for

violations of these rules and regulations by fashioning her claim

as one for breach of contract"). Thus, even leaving Lobaito and

Hauptman aside, it is clear that the Second Circuit understood

there was no private right of action under rules of entities like



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 FINRA.   Further, the Court has not found—nor have the Claimants

 provided-any case that holds that there is a private right of
 action to enforce violations of FINRA rules. Accordingly, the Court

 considers that question—whether there is a private right of action

 to enforce FINRA rules—to be beyond dispute.

      Undeterred, Claimants also attempt to make the more nuanced

 argument that a violation of FINRA rules can provide the basis for

 a common law claim. To that end, they argue that a violation of

 FINRA rules could have supported a finding by the arbitrators that

 Interactive violated one of the common law causes of action.          See,

6•g*/ ECF No. 85 at 13-14. By making this argument, the Claimants

concede that the arbitrators were relying on a violation of FINRA

Rule 4210 to establish liability, but were doing so to establish

one of the common law claims.


      Claimants also cite several cases that they think support

their theory.     Those cases, however, are about using FINRA rules

to define the scope of a common law duty—or to provide evidence of

whether that duty was met—not about establishing the predicate for

liability in the first place.

      In Rioseco v. GAMCO Asset Mgmt., a New York state trial court

decision, the court considered whether FINRA rules (there, the so-



" Counsel for the Claimants conceded this point at oral argument,
answering "no" when directly asked by the Court if there were any
cases holding that there is a private right of action to enforce
FINRA rules. Oral Arg. Tr. at 28 (ECF No. 94).


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called "suitability rules") could "be considered as evidence of

industry standards for purposes of a common law malpractice claim."

No. 15862/10, Seq. No. 003, 2011 WL 4552544, at *79 (N.Y. Sup. Ct.

Sept. 23, 2011) (emphasis added). The Rioseco court noted that a

violation of FINRA rules does not give rise to a private cause of

action. Id. However, since the court had already determined that

GAMCO owed fiduciary duties to Rioseco, the violation of the FINRA

rules could be probative of "whether GAMCO committed malpractice."

Id. at *80.


      The   Rioseco    court    understood     the    difference   between     FINRA

rules creating a private cause of action and their informing the

scope of existing causes of action and common law duties. If a

FINRA rule "gave rise to a private right of action, the violation

of   the    rule,   standing     alone,    would     be    sufficient    to   impose

liability." Id. at *79. There is no private right of action under

FINRA rules, but the Rioseco court found that the rules could

provide     evidence    of     whether    there      was   malpractice    once   it

established that GAMCO owed a fiduciary duty. In the instant case,

the Court cannot ascertain which common law cause of action that

a FINRA rule violation could inform. The arbitrators state that


they are denying "any and all claims for relief not specifically

addressed herein," yet only address a violation of FINRA rules.

ECF No. 71-1 at 4-5. That implies that the basis for liability is

a FINRA rule violation.         Accordingly, Rioseco is not on point.



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     The same analysis holds true for other cases cited by the

Claimants. Those cases all deal with using a violation of FINRA or

NASD rules to provide evidence of a violation of an existing common

law cause of action, like negligence. They do not use the FINRA or

NASD rule violation as an independent cause of action as the

arbitrators did here. See Milliner v. Mut. Sees., Inc., 297 F.

Supp. 3d 1060, 1065 (N.D. Cal. 2016) ("[C]ourts have often looked

to such rules in defining the scope of common law duties."); Walnut

St. Sees. V. Lisk, 497 F. Supp. 2d 714, 719-720 (M.D.N.C. 2007)

(violation of NASD rules could be basis for failure to supervise

liability); Scott v. Dime Sav. Bank of New York, FSB, 886 F. Supp.

1073, 1080-81 (S.D.N.Y. 1995) (jury could have considered evidence

of NASD rule violation in determining negligence); Merrill Lynch,

Pierce, Fenner & Smith, Inc. v. Cheng, 697 F. Supp. 1224, 1227

(D.D.C. 1988) (violation of NASD rule may be considered by jury in

determining negligence). These cases make clear that violating a

FINRA or NASD rule can be considered in defining the scope of a

common law duty. But here, the arbitrators state that they are

rejecting all claims not specifically addressed and only address

the FINRA rule violation. There, thus, is no common law claim upon

which they could have based the finding of liability.

     Further still, recent Second Circuit case law holds that an

investor may not create a private right of action for the violation

of   financial   regulatory     rules,    including    NASD   rules,    by


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refashioning his claim as a breach of contract claim. Gurfein v.

Ameritrade, Inc., 312 Fed. Appx. 410, 412-14 (2d Cir. 2009). In

Gurfein,    the    plaintiff's   Customer Agreement      with   her online

financial brokerage firmi stated that "[a]11 transactions under

this Agreement are made subject to the constitution, rules,

regulations, customs and usages of the various execution points
and their clearinghouse, if any." Id. at 413. The Second Circuit

determined that such a clause "is a notice provision that informs

the customer that her trades are constrained by the rules of

governing regulatory agencies" and did not "impose[] [contractual]

obligations" on the broker-dealer. Id. at 413-14. Gurfein could

not    "creat[e]   a   private   cause   of   action   for   violations   of

[financial regulatory] rules and regulations by fashioning her
claim as one for breach of contract based on violations of rules

and regulations impliedly incorporated into the agreement." Id. at

414.


       Like Gurfein, this case involves a Customer Agreement that

acknowledges that "[a]11 transactions are subject to rules and

policies of relevant markets and clearinghouses, and applicable

laws and regulations." Interactive Brokers LLC Customer Agreement

t 6 (ECF No. 1-4).       And, like Gurfein, this provision puts the
customer on notice about how his trades will be governed. But, as

the Second Circuit has made clear, it does not create a private




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cause of action for violation of financial regulatory rules and

regulations under a breach of contract theory.

        The Court is satisfied that the law is clearly defined that

there is no private right of action to enforce FINRA rules. Because

it is apparent on the face of the arbitrator's decision that a

violation of FINRA Rule 4210 is the basis for liability in this

case, that is the end of the matter.              Claimants' argument that

FINRA or NASD rules can provide evidence to support a common law

cause of action presupposes that one exists. Where the arbitrators

state     that   they    are    rejecting   all   claims   not   specifically

addressed, and only address a violation of FINRA rules, cases of

that hue are simply inapposite.

     2. The Arbitrators Knew the Law, nnderstood It, Knew It Was
        Applicable, and Disregarded It

     Once it is established that the law on the issue is clearly

defined, the next step in the "manifest disregard of the law"

analysis is to show that the arbitrators knew the law, understood

it, knew it was applicable, and disregarded it. See Long John

Silver's, 514 F.3d at 349; see also Raymond James Fin. Servs. v.

Bishop, No. 3:07-cv-28, slip op. at 28 (E.D. Va. Dec. 18, 2008),

aff'd, 596 F.3d 183 (4th Cir. 2010).

     It    is    clear   that   the   arbitrators   knew   the   law   because

Interactive made clear in their briefing to the arbitrators that

there was no private right of action for violation of FINRA rules.




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See Raymond James, slip op. at 28 ("Raymond James correctly

informed the panel of the principle in its Motion to Dismiss. . .

.").   In both its pre-hearing brief before the arbitrators and its

memorandum in support of its motion for summary judgment (ECF No.

31), Interactive cited clear authority establishing that there is

no private right of action for violation of FINRA rules. See ECF

No. 82 at 4-6 (discussing the two ways in which Interactive

provided law to the arbitrators). The arbitrators were aware of

the law cited in these briefs because they state that "they have

each read the pleadings and other materials filed by the parties."

ECF    No.    71-1   at   2.   Accordingly,   the   Court   finds   that   the

arbitrators were aware of the law.

       Second, the arbitrators understood the law.            This Court in

Raymond      James found that arbitrators understood the "causation

element of a fiduciary damages claim" because the arbitrators were

"licensed attorneys" and such knowledge is "hornbook law. . .

required. . .for admission to the bar." Raymond James, slip op. at

29. As Interactive points out, the chairman of the arbitration

panel here is an attorney and he stated that the panel members

"are not iineducated or inexperienced jurists." ECF No. 82 at 6. In

the Remand Opinion (ECF No. 50), the Court instructed that the

arbitrators needed to make clear the predicate for liability. That

damages must be tied to a recognized cause of action is "hoimbook

law." And, since at least one of the arbitrators is an attorney


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and   represented    that   the   members   of    the   panel   are   "not.

.inexperienced jurists," the Court finds that the arbitrators

understood the law in this case.

      Third, the arbitrators knew the law was applicable. Once

again, the arbitrators had the benefit of this Court's Remand

Opinion in   which   the    Court instiructed     the   arbitrators to tie

damages to a cause of action. ECF No. 50 at 17. Further, the

arbitrators acknowledged Interactive's position by stating in the

"AEIBITRATOR'S   REPORT":    "Respondent's       position   that   the   Panel

should not enforce a FINRA rule amounts to saying that FINRA should

provide an opportunity for investors to commit financial suicide.

. . ." ECF No. 71-1 at 4. The arbitrators knew they had to tie the

damages to a cause of action. They knew that Interactive's position

was that there was no private right of action to enforce FINRA

rules. They knew that the law applied to this case because they

stated it in their "REPORT." On this record, the Court finds this

element to be satisfied.


      Finally, the arbitrators disregarded the law by finding

Interactive liable solely on the basis of violating FINRA Rule

4210. They were aware of the law, understood it, and knew it was

applicable to the case.      After receiving clear guidance from this

Court that they needed to establish a predicate for liability, the

arbitrators doubled down by adding to their "REPORT" more language

about violating FINRA rules rather than discussing one of the


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claims for relief stated in the ''CASE SUMMARY." See EOF No. 71-1

at 3-4. On this record, the Court has no choice but to find that

the arbitrators utterly disregarded the law that FINRA rules

provide no private case of action.



   Claimants cite several cases to refute that the Court is able
to determine from the face of the award that the panel acted in
tianifest disregard of the law. None of these cases support that
proposition in this case. In Waveland Capital Partners, LLC v.
Tommeirup, 928 F. Supp. 2d 1227 (D. Mont. 2013), the Court rejected
an argument that it could determine that the arbitrators based a
finding    of   liability     on    "violations     of   self-regulatory
organization rules." Id. at 1232. That case is different for two
reasons. First, the arbitrators did not even address the self-
regulatory organization (like FINRA) rules. Id. Second, the Court
found several grounds upon which the arbitrators could have based
their award. Id. at 1233. Neither of those situations are present
here: the arbitrators expressly discussed a FINRA rule violation
and the Court cannot find another basis for the finding of
liability.

In The QMS Group, LLC v. Benderson, 326 F.3d 75 {2d Cir. 2003),
the Second Circuit found that arbitrators did not act in manifest
disregard of the law in applying NASD rules. But in that case,
there was no written opinion by the arbitrators, id. at 81, and
the Court determined that the facts and the law were unclear such
that it could not say the arbitrators acted in manifest disregard
of the law. Id. at 82-83. This case differs because the Court does
have an opinion and the law is clear. Thus, the Court can determine
that the arbitrators manifestly disregarded the law.

Lastly, Claimants cite two New York state cases. In a half-page
opinion, a New York trial court rejected a challenge to an
arbitration decision that "concerned the alleged breach of two
rules of" NASD. Freeman v. Arahill, No. 111119/01 (N.Y. Sup. Ct.
Oct. 18, 2001). It did so because Freeman did "not cite any case
law for the proposition that a private right of action based on
the violation of self-regulatory organization rules cannot be
brought in arbitration." Id. While this statement cuts against the
Court's determination here, the Court is not convinced by an
unreasoned, half-page state trial court decision in the face of
the other authority cited in this opinion. Claimants also cite In
re Grace Fin. Group, LLC v. Dino, which upheld an arbitration award


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      In sum, the Court finds that the law applicable in this case

is clearly defined—there is no private right of action for the

violation of FINRA rules. The Remand Opinion put the arbitrators

on notice that they were to tie their damages award to a cause of

action. Rather than explaining which of the stated causes of action

they relied     on,   they added    more   language   about    FINRA   rule

violations. In so doing, the arbitrators made it quite clear that

liability was based solely on Interactive's violation of FINRA

Rule 4210.     Further, the arbitrators knew of the law, understood

it, knew it to be applicable, and continued to disregard it. All
of the elements for vacatur for manifest disregard of the law have

been met. See Dance1, 792 F.3d at 402; Long John Silver's, 514

F.3d at 349. Accordingly, the PLAINTIFF'S MOTION TO VACATE MODIFIED

ARBITRATION AWARD (EOF No. 79) will be granted.

C.   Interactive's Counterclaims

      Before   concluding, however, it is necessary briefly to

address    Interactive's      counterclaims.      During      arbitration.

Interactive    asserted   counterclaims    against the     Claimants for

failure to mitigate and pay a debt. ECF No. 71-1 at 3. It requested
dismissal of the Claimants' claims, compensatory damages of


as not manifestly disregarding the law where the award did not
refer to FINRA rules, but rather characterized the claim as
asserting "only excessive fees and mark-ups." 138 A.D. 3d 644, 645
(N.Y. App. Div. 2016). The Court implied, however, that if, like
here, the arbitrators had sought to use FINRA rules to establish
a private cause of action, the award would have been vacated. Id.


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$220,172.09 from Rohit and Preya Saroop, compensatory damages of

$166,087.53 from Dr. Sofis, interest, costs, and attorney's fees.
Id.    The "ARBITRATOR'S REPORT" briefly assesses Interactive's

coxinterclaims: "Respondent's Counterclaim was dismissed based on

Respondent's violation of FINRA Rule 4210 as further explained in

FINRA Regulatory Notice 08-09." Id. at 4. Finally, in the "AWARD,"

the arbitrators denied Interactive's Counterclaims "[i]n their

entirety," as well as denied Interactive's request for attorney's
fees. Id. at 5 ft 8-9.

       Because     the   Court    has   determined   that   it   was   manifest

disregard of the law for the arbitrators to award damages to the

Claimants based solely on the violation of FINRA Rule 4210, it was

likewise improper to dismiss the counterclaim on this same ground.
If FINRA Rule 4210 cannot support a finding of liability standing

alone, neither can it provide a sort of affirmative defense that

the arbitrators can use to reject Interactive's counterclaims.

       But, given the difficulty that the arbitrators in this case

had in following the Court's previous order (ECF No. 50) and their

rather flagrant disregard of             settled law in ruling against

Interactive, the Court cannot in good conscience remit Interactive

to    the   same   panel of      arbitrators   for   reconsideration    of   its

counterclaims. See, e.g., Montes v. Shearson Lehman Bros., Inc.,

128 F.3d 1456, 1464 (11th Cir. 1997) (remanding to new panel of

arbitrators where original panel was foimd to manifestly disregard


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the    law).      Accordingly,     the     Court   reinstates    Interactive's

counterclaims and remands to a                 FINRA arbitration panel         with

specific instructions that the counterclaims be considered by a

different FINRA arbitration panel,


                                   CONCLUSION


      For the reasons set forth above, it is hereby ORDERED that

the PLAINTIFF'S MOTION TO VACATE MODIFIED ARBITRATION AWARD (EOF

No.   79)   is   GRANTED   and   the   DEFENDANT'S    MOTION    TO   CONFIRM   THE

MODIFIED ARBITRATION AWARD (EOF No. 80) is DENIED. Furthermore, it

is hereby ORDERED that this matter is be remanded to a new panel

of    FINRA      arbitrators     for     reconsideration   of    Interactive's

counterclaims.


      It is so ORDERED.




                                                    /s/
                                 Robert E. Payne
                                 Senior United States District Judge


Richmond, Virginia
Date; December 18, 2018




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